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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RENEE LEPAGE                                      Case No.17-cv-00600-LB
                                                        Plaintiff,
                                   8
                                                                                           ORDER FOR JURY REFRESHMENTS
                                                 v.
                                   9

                                  10     COUNTY OF NAPA, et al ,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                              IT IS HEREBY ORDERED that the United States District Court shall furnish daily
                                  13
                                       morning refreshments and pastries for the 8 members of the jury in the above-entitled matter
                                  14
                                       beginning October 16, 2019 at 7:30 AM, for the duration of the trial, and lunch during jury
                                  15
                                       deliberations, at the expense of the United States. The trial will be held in Courtroom B, 15th
                                  16
                                       Floor, Phillip Burton Federal Building, 450 Golden Gate Avenue, San Francisco, CA 94102.
                                  17
                                              IT IS SO ORDERED.
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                                       Dated: September 26, 2019
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                                                                                       ______________________________________
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                                                                                       LAUREL BEELER
                                  22                                                   United States Magistrate Judge

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